      Case 4:16-cv-01414 Document 683 Filed on 10/21/19 in TXSD Page 1 of 1



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

MARANDA LYNN ODNNELL, et al                 §
    Plaintiffs,                             §
                                            §
vs.                                         §
                                            §
HARRIS COUNTY, TEXAS, et al                 §       CIVIL ACTION NO. 4:16-CV-01414
    Defendants.                             §

                NOTICE OF APPEARANCE OF ADDITIONAL COUNSEL

       Please take notice that Celena Vinson enters her appearance as counsel for Defendant
Harris County, Texas, in addition to and not in substitution of Melissa L. Spinks, who remains as
lead counsel:

Date: October 21, 2019                      Respectfully submitted,


                                            /s/Celena Vinson
OF COUNSEL:                                 Celena Vinson
                                            Assistant County Attorney
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                                            Co-Counsel For Defendant, Harris County, Texas

                                CERTIFICATE OF SERVICE

       I hereby certify that on October 21, 2019, a true and correct copy of this pleading was
served upon all parties of record via their attorneys of record via CM/ECF system.




                                                    /s/ Celena Vinson
                                                    Celena Vinson
                                                    Assistant County Attorney

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